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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ACP Post Oak Credit I LLC and ACP Post
Oak Credit II LLC
                     Appellant,
v.                                               Civil Action No. 1:24-cv-00304-JLH
VESTTOO LTD., et al., and the Official           Bankruptcy Case No. 23-11160 (MFW)
Committee of Unsecured Creditors of Vesttoo      Bankruptcy BAP No. 23-00010
LTD, et al.
                    Appellees.


                            ORDER APPROVING APPEARANCE

         This matter coming before the Court upon the application of Gregg M. Galardi to appear

in the above-captioned case on behalf of Appellant, ACP Post Oak Credit I LLC and ACP Post

Oak Credit II LLC, pursuant to D. Del. LR 83.5(f)(2) of the United States District Court for the

District of Delaware; and the Court having reviewed the application and determined the relief

sought is appropriate; it is hereby

         ORDERED, that Gregg M. Galardi may appear in the above-captioned case on behalf of

ACP Post Oak Credit I LLC and ACP Post Oak Credit II LLC and file pleadings without the

requirement of association with Delaware local counsel pursuant to D. Del. LR 83.5(f)(2).

Dated:     March 22 , 2024



                                                The Honorable Jennifer L. Hall
                                                United States District Judge
